Case 1:02-Cv-01111-.]P|\/|-egb Document 363 Filed 06/23/05 Page 1 of 5 Page|D 2636

UNITED sTATEs DISTRICT coURT ` fn ga
FoR THE WESTERN DISTRICT 0F TENNESSEE ga ;; gm 2 3 w ,
"““'*’ I' l+f ms

PHILLIP E. BOYNTON, CLARENCE W.
BOYNTON, NOR_MA ANN LOGAN,
RENELDA J. WESTFALL, SHANNON
NONN, AARON SCOTT BER.NARD,
ALAN F. BERNARD, LINDAR.
BERNARD, and DAVID ALLEN
BERNARD,

 

Plamtlffs, Civil Action No. 1~02-1 1 1 1-Ma/A

vs.
HEADWATERS, ]NC., f/k/a./ CoVol

Technologies, lnc., and JAMES G.
DAVIDSON,

Defendants
/""\

d\
RDER GRANTING JOINT STIPULATION AND RE UEST TO
EXTEND TI-IE MEDIATION DEADLINE UNTIL JULY 17 2005

 

 

T is document entered on the docket LFSHY.?) con fame
r" "e 58 and/or ?9(3) FHCP on w____ 05

Case 1:02-cv-Ollll-.]P|\/|-egb Document 363 Filed 06/23/05 Page 2 of 5 Page|D 2637

THIS MATTER came before the Court on the parties’ Joint Stipulation and
Request to Extend the Mediation Deadline Until July 17, 2005.

Having considered the Written submissions of the parties in connection With the above-
referenced motion, the Court hereby ORDERS that the Court Ordered Court Annexed Mediation
deadline of lime 17, 2005 shall be extended to July 17, 2005 and the Court hereby accepts the
parties’ selection of a private mediator, Allen S. Blair, who will conduct the mediation according

to his normal fee schedule

SOORDEREDthiS FN’ 23 ,2005 OQQ

ma m

Hon. J n P. McCalla
Unit States District Judge

 

Case 1:02-cv-Ollll-.]P|\/|-egb Document 363 Filed 06/23/05 Page 3 of 5 Page|D 2638

CERTIFICATE OF SERVICE

The undersigned hereby certifies that the foregoing [PROPOSED] ORDER
GRANTING JOINT STIPULATION AND REQUEST TO EXTEND THE MEDIATION

DEADLINE UNTIL JULY 17, 2005 Was served upon the other parties to this case by

delivering a true copy thereof to their respective attorneys of record this June 6, 2005, as follows:

Jeffrey A. Greene, Esq. (via Facsimile and First Class Mail)
Gregory H. Oakley, Esq.

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DAvls LAW FlRM, P.C.

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Wt txth

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Notice of Distribution

This notice confirms a copy of the document docketed as number 363 in
case l:02-CV-0] l ll Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

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